     Case 1:20-cv-00131-SAV Document 15               Filed 12/11/20     Page 1 of 4




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE:
 _________________________________________
                                           :
NATURE’S TOUCH FROZEN FOODS (WEST) :
INC.,                                      :
                                           :
                         Plaintiff,        :                      Court No. 20-00131
                                           :
                   v.                      :
                                           :
UNITED STATES,                             :
                                           :
                         Defendant.        :
 _________________________________________ :

                                        ANSWER

   Pursuant to Rule 7(a) of the Rules of the United States Court of International Trade,

the United States, defendant, responds to the allegations of plaintiff’s, Nature’s Touch

Frozen Foods (West) Inc. (Nature’s Touch), Complaint as follows:

   1. Denies that Nature’s Touch’s protest was filed “at the port of Sumas,
      Washington.” Admits the remainder of the allegation to the extent it is supported
      by the subject protest and entry documents, otherwise denies.

   2. The allegations in this paragraph consist of legal argument and/or conclusions of
      law to which no response is required.

   3. Admits.

   4. Admits except denies for lack of information or knowledge sufficient to form a
      belief as to whether plaintiff is a corporation organized and existing under the
      laws of Canada.

   5. Admits.

   6. The allegations in this paragraph consist of legal argument and/or conclusions of
      law to which no response is required. To the extent they may be deemed
      allegations of fact, denies that the subject merchandise consists of food
      preparations for purposes of tariff classification. Otherwise, denies the allegations
      in this paragraph for lack of information or knowledge sufficient to form a belief
      as to their truthfulness.
 Case 1:20-cv-00131-SAV Document 15               Filed 12/11/20     Page 2 of 4




7. Denies the allegations in this paragraph for lack of information or knowledge
   sufficient to form a belief as to their truthfulness.

8. Admits that the goods in the subject entries were classified by U.S. Customs and
   Border Protection (CBP) upon liquidation under the subheadings of the
   Harmonized Tariff Schedule of the United States (HTSUS) that are cited in this
   paragraph. As to whether plaintiff correctly quoted the cited tariff provisions,
   admits to the extent supported by those tariff provisions, otherwise denies.

9. Denies the allegations in this paragraph for lack of information or knowledge
   sufficient to form a belief as to their truthfulness.

10. The allegations in this paragraph consist of legal argument and/or conclusions of
    law to which no response is required. To the extent they may be deemed
    allegations of fact, denies that defendant classified the goods in the subject
    entries, which were liquidated “as entered,” pursuant to General Rule of
    Interpretation (GRI) 3(b) or (c). Denies that GRI 3(b) and (c), which are the best
    evidence of their contents, are correctly described.

11. The answers to Paragraphs 1 through 10 of the Complaint are incorporated by
    reference as though fully set forth herein.

12. Admits to the extent supported by subheading 0811.90, HTSUS, which is the best
    evidence of its contents; otherwise denies.

13. The allegations in this paragraph consist of legal argument and/or conclusions of
    law to which no response is required. To the extent they may be deemed
    allegations of fact, admits that subheading 0811.90, HTSUS and various
    subheadings thereunder provide for individual types of fruit and do not include
    the word “mixtures.” It is unclear what is meant by the phrase “specifically
    named single fruits.” Defendant denies this phrase for lack of information or
    knowledge sufficient to form a belief as to its truthfulness. Denies any inference
    that fruit mixtures may not be classified in subheading 0811.90, HTSUS. Denies
    the remainder of the paragraph.

14. The allegations in this paragraph consist of legal argument and/or conclusions of
    law to which no response is required. To the extent they may be deemed
    allegations of fact, denies.

15. The allegations in this paragraph consist of legal argument and/or conclusions of
    law to which no response is required. To the extent they may be deemed
    allegations of fact, denies.

16. The answers to Paragraphs 1 through 15 of the Complaint are incorporated by
    reference as though fully set forth herein.



                                         2
     Case 1:20-cv-00131-SAV Document 15                  Filed 12/11/20      Page 3 of 4




    17. Admits that plaintiff timely filed post-entry claims for duty-free treatment under
        the North American Free Trade Agreement (NAFTA) in accordance with Section
        520(d) of the Tariff Act of 1930, as amended [19 U.S.C. §1520(d)] for Entry Nos.
        MK8-5382694-1, MK8-5383289-9, MK8-5383796-3, MK8-5384381-3, MK8-
        5384583-4, MK8-5384898-6, MK8-5385040-4, MK8-5385182-4, MK8-5385187-
        3, MK8-5386047-8, MK8-5386770-5, and MK8-5387494-1, and admits that
        plaintiff provided a NAFTA Certificate of Origin for these entries, but denies as
        to the remainder of the subject entries and otherwise denies.

    18. The allegations in this paragraph consist of legal argument and/or conclusions of
        law to which no response is required. To the extent they may be deemed
        allegations of fact, denies.

      Denies that plaintiff is entitled to the relief set forth in the prayer for relief
immediately following paragraph 18, or to any relief whatsoever.



        WHEREFORE, defendant respectfully requests that judgment be entered

dismissing this action, overruling plaintiff’s claim, sustaining the decision of the

appropriate CBP official and the assessment thereunder, and granting defendant such

other and further relief as may be just and appropriate.



DATED: December 11, 2020                        Respectfully submitted,

                                                JEFFREY BOSSERT CLARK
                                                Acting Assistant Attorney General

                                                JEANNE E. DAVIDSON
                                                Director

                                        By:     /s/ Justin R. Miller
                                                JUSTIN R. MILLER
                                                Attorney-In-Charge
                                                International Trade Field Office

                                                /s/ Jamie L. Shookman
                                                JAMIE L. SHOOKMAN
                                                Trial Attorney
                                                Department of Justice, Civil Division
                                                Commercial Litigation Branch

                                               3
Case 1:20-cv-00131-SAV Document 15   Filed 12/11/20   Page 4 of 4




                             26 Federal Plaza – Suite 346
                             New York, New York 10278
                             (212) 264-2107
                             Attorneys for Defendant




                             4
